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                          UNITED STATES DISTRICT COURT
  8
                         CENTRAL DISTRICT OF CALIFORNIA
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 10
      AUSTIN SAENZ,                              Case No. 5:20-cv-02542-MCS (SHK)
 11
 12                           Plaintiff,
                         v.
 13                                              JUDGMENT
 14   RALPH DIAZ, et al.,
 15
                              Defendants.
 16
 17
 18        Pursuant to the Order Dismissing Case, IT IS HEREBY ADJUDGED that
 19   the case is DISMISSED without prejudice.
 20
 21
      Dated: November 22, 2021
 22                                  HON. MARK C. SCARSI
                                     United States District Judge
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 28
